 8:16-cr-00052-JFB-MDN           Doc # 37   Filed: 09/21/16   Page 1 of 1 - Page ID # 118




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,

                    Plaintiff,                                   8:16CR52

      vs.
                                                                  ORDER
PATRICIA M. URBANOVSKY,

                    Defendant.


      Before the court is the Request for Transcript by a nonparty, Filing No. 36. After
considering the matter,
      IT IS ORDERED:
      1.     The Request for Transcript (Filing No. 36) is granted, as outlined below.
      2.     The nonparty petitioner must contact court reporter Rogene Schroder at
(402) 661-7383 or roschrod79@yahoo.com to make arrangements for the preparation
and payment of the transcript.
      3.     The Clerk’s Office is ordered to mail a copy of this order to the nonparty’s
attorney pursuant to Filing No. 36.




      Dated this 21st day of September, 2016

                                                  BY THE COURT:
                                                  s/ Joseph F. Bataillon
                                                  Senior United States District Judge
